Case 3:14-cr-00083-TAV-DCP   Document 159   Filed 04/01/15   Page 1 of 6   PageID
                                   #: 796
Case 3:14-cr-00083-TAV-DCP   Document 159   Filed 04/01/15   Page 2 of 6   PageID
                                   #: 797
Case 3:14-cr-00083-TAV-DCP   Document 159   Filed 04/01/15   Page 3 of 6   PageID
                                   #: 798
Case 3:14-cr-00083-TAV-DCP   Document 159   Filed 04/01/15   Page 4 of 6   PageID
                                   #: 799
Case 3:14-cr-00083-TAV-DCP   Document 159   Filed 04/01/15   Page 5 of 6   PageID
                                   #: 800
Case 3:14-cr-00083-TAV-DCP   Document 159   Filed 04/01/15   Page 6 of 6   PageID
                                   #: 801
